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                     Case 4:10-cr-00218-DPM Document 130 Filed 08/20/13 Page 1 of 7
             (Rev. 09/11) Judgment in a Criminal Case for Revocations
                                                                                                                        FILED
                                                                                                                     U.S. DISTRICT COURT
             Sheet 1                                                                                             EASTERN DISTRICT ARIV\NSAS



                                      UNITED STATES DISTRICT COURJAMEs
                                                          Eastern District of Arkansas                 By: __&-"'""~i'-~~~,.,..,.-
         UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                             v.                                         (For Revocation of Probation or Supervised Release)
       EDWARD AVERY, a/k/a Peter Rabbit

                                                                        Case No. 4:10-cr-218-DPM-2
                                                                        USM No. 07089-045
                                                                         Lisa G. Peters
                                                                                                Defendant's Attorney
THE DEFENDANT:
ii{ admitted guilt to violation of condition(s) Gen 1, Std 7, Std 9, Spec (x2) of the term of supervision.
D was found in violation of condition(s)              - - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                           Nature of Violation                                   Violation Ended
1                                 Unlawful use of a controlled substance, a Grade C violation                  07/31/2013

4                                 Possessing a controlled substance, a Grade C violation                    07/23/2013
5                                 Associating with a person engaged in criminal activity,

                                                                        a Grade C violation                 07/23/2013
       The defendant is sentenced as provided in pages 2 through _ __;7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic cucumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 6540                      08/16/2013
                                                                                           Date of Imposition of Judgment
Defendant's Year of Birth:          1945

City and State of Defendant's Residence:                                                         §igl;ature of Judge
Pine Bluff, AR
                                                                         D.P. Marshall Jr.                             U.S. District Judge
                                                                                              Name and Title of Judge

                                                                                 !).0   4vpst :l.0/3
                                                                                                        Date
AO 245D
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          (Rev. 09/11) Judgment in a Criminal Case for Revocations
          Sheet lA

                                                                                        Judgment-Page   _.=,2_ of     7
DEFENDANT: EDWARD AVERY, a/k/a Peter Rabbit
CASE NUMBER: 4:10-cr-218-DPM-2

                                                     ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number              Nature of Violation                                                             Concluded
7                             Failing to report for drug testing, a Grade C violation                         07/31/2013

8                             Failing to pay $100 special penalty assessment, a Grade C violation            08/06/2013
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  AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment

                                                                                                 Judgment- Page    3     of       7
  DEFENDANT: EDWARD AVERY, a/k/a Peter Rabbit
  CASE NUMBER: 4:10-cr-218-DPM-2


                                                                IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
ONE MONTH.




     r/ The court makes the following recommendations to the Bureau of Prisons:
The Court recommends that Avery be incarcerated at the Pulaski County Detention Center.




     r/ The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
         D    at    --------- D                  a.m.             D     p.m.    on
         D    as notified by the United States Marshal.

     D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D    before 2 p.m. on
         D    as notified by the United States Marshal.
         D    as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

 I have executed this judgment as follows:




         Defendant delivered on                                                      to

 at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL


                                                                               By
                                                                                          DEPUTY UNITED STATES MARSHAL
 AO 245D
                      Case 4:10-cr-00218-DPM Document 130 Filed 08/20/13 Page 4 of 7
             (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 3 - Supervised Release
                                                                                                    Judgment-Page      4    of          7
 DEFENDANT: EDWARD AVERY, a/k/a Peter Rabbit
 CASE NUMBER: 4:10-cr-218-DPM-2
                                                            SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for a term of :
TWO MONTHS.



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
 from the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
 tests thereafter as determined by the court.
 D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
 t/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
 t/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 D     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
 D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this jud~ent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
 1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
 3)        the. defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
           officer;
 4)        the defendant shall support his or her dependents and meet other family responsibilities;
 5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
           or other acceptable reasons;
 6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
           convicted of a felony, unless granted perrmssion to do so by the probation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
           confiscation of any contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
           enforcement officer;
 12)       th~ defendant sha}l 1_10t enter into any agreement to act as an informer or a special agent of a law enforcement agency
           without the permission of the court; ani.l
 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
           defendant's criminal record or personal history or characteristics ani.l shall permit the probation officer to make such
           notifications and to confirm the defendant's compliance with such notification requirement.
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           (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet 3C - Supervised Release
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                                                                                      Judgment-Page _ _             7
 DEFENDANT: EDWARD AVERY, a/k/a Peter Rabbit
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                                            SPECIAL CONDITIONS OF SUPERVISION

81) Avery shall participate, under the guidance and supervision of the probation office, in a substance abuse treatment
program, which may include testing, outpatient counseling, and residential treatment. Further, he must abstain from the
use of alcohol throughout the course of treatment.
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            Sheet 5 -Criminal Monetary Penalties
                                                                                               Judgment- Page        6     of        7
DEFENDANT: EDWARD AVERY, a/k/a Peter Rabbit
CASE NUMBER: 4:10-cr-218-DPM-2
                                            CRIMINAL MONETARY PENALTIES

     The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                   Assessment                                                                          Restitution
TOTALS         $ 100.00                                                                            $



D The determination of restitution is deferred until _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

D    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
     be paid before the United States is paid.

Name of Payee                                     Total Loss*                   Restitution Ordered              Priority or Percentage




TOTALS                                $._ _ _ _ _ _0;;..;.'. ;;_00;;_   $~-----~0;;..;..0..;;_0;;_


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the          D fine       D restitution.
     D the interest requirement for the       D     fine     D restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April23, 1996.
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 AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 6 - Schedule of Payments
                                                                                                                         7_ of
                                                                                                        Judgment- Page _ _              7
 DEFENDANT: EDWARD AVERY, a/k/a Peter Rabbit
 CASE NUMBER: 4:10-cr-218-DPM-2

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     D Lump sum payment of $                                           due immediately, balance due

           D not later than                                                , or
           D in accordance with D C,                  D     D,     D E,or         D F below); or
B     D Payment to begin immediately (may be combined with                        oc,       OD,or      D F below); or
C     D Payment in equal           m            (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                            (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal monthly      (e.g., weekly, monthly, quarterly) installments of $ 5 00        over a period of
           20 months (e.g., months or years), to commence 30 days (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F     D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary renalties is due during the period of imprisonment. All criminal monetary penalttes, except those payments made
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to tbe clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant <;1nd Co-Defendant N<;1mes and Case Numbers (including defendant number), Joint and Several Amount and
     correspondmg payee, tf appropnate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
